Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 1 of 20




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                     CASE NO. 0:23-CV-61233-JEM

   THE SMILEY COMPANY SPRL,

          Plaintiff,

   v.

   THE INDIVIDUALS, PARTNERSHIPS AND
   UNINCORPORATED ASSOCIATIONS
   IDENTIFIED ON SCHEDULE “A,”

          Defendants.
                                                     /

           [PROPOSED] SEALED ORDER GRANTING EX PARTE APPLICATION
                FOR ENTRY OF TEMPORARY RESTRAINING ORDER

          THIS MATTER comes before the Court on the Plaintiff’s Ex Parte Motion for Entry of

   Temporary Restraining Order, Preliminary Injunction, and Order Restraining Transfer of Assets

   (“Plaintiff’s Motion for TRO”).      The Plaintiff, The Smiley Company SPRL (“Smiley” or

   “Plaintiff”) moves, ex parte, for entry of a temporary restraining order against the Defendants,

   Individuals, Partnerships, and Unincorporated Associations Identified on Schedule “A”

   (collectively “Defendants”), and an order restraining the financial accounts used by Defendants

   pursuant to 15 U.S.C. § 1116, 17 U.S.C. § 502, Federal Rule of Civil Procedure 65, and The All

   Writs Act, 28 U.S.C. § 1651(a).

          The Court has carefully considered the Motion, the record, and the governing law. For the

   reasons stated below, the Plaintiff’s Ex Parte Application for Temporary Restraining Order is

   GRANTED.
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 2 of 20




   I.     FACTUAL BACKGROUND

          Plaintiff is the owner of the following trademarks, which are valid and registered on the

   Principal Register of the United States Patent and Trademark Office (collectively the “Smiley

   Marks”):

                             Registration   Registration
         Trademark                                                     Classes / Goods
                              Number           Date
                                                            IC 003. US 001 004 006 050 051
                                                            052. G & S: non-medicated cosmetic
                                                            preparations for slimming purposes,
                                                            namely, skin creams, skin lotions,
                                                            [skin pomades, rust removing
                                                            preparations,] sun-tanning
                                                            preparations for cosmetic purposes,
                                                            [fabric softeners for laundry use,
                                                            shaving soap, cotton sticks for
                                                            cosmetic purposes, skin whitening
                                                            creams, laundry bleach, scented
                                                            wood, floor polish, hair color, hair
                                                            dyes, hair waxing lotions, artificial
                                                            eyelashes, shoe care products,
                                                            namely, shoe wax, shoe polish, and
                                                            shoe cream, depilatory wax, parquet
                                                            floor wax, polishing wax for use on
          SMILEY              2,747,618      08/05/2003
                                                            furniture and automobiles, leather
                                                            preservatives, namely, polishing
                                                            creams and waxes, cosmetic kits
                                                            comprised of eyelash pencils, eyelid
                                                            pencils, namely], shampoos, [drain
                                                            openers, general purpose scouring
                                                            powders, decolorants for cosmetic
                                                            purposes, namely, hair decolorants,
                                                            degreasing preparations not used in
                                                            the manufacturing process for use on
                                                            floors, make-up removing
                                                            preparations, depilatory creams,
                                                            stains removers, paint removers, rust
                                                            and mineral removing cleaning
                                                            preparations, laundry detergents,]
                                                            toilet water, [anti-static dryers sheets,
                                                            emery paper, emery cloth, emery

                                                  2
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 3 of 20




                                                  boards, polish for furniture and
                                                  flooring, incense, windscreen
                                                  cleaning preparations,] essentials oils
                                                  for personal use[, hair lacquer, hair
                                                  bleaching preparations, sachets for
                                                  perfuming linen, hair lotions, false
                                                  nails, cotton balls for cosmetic
                                                  purposes, abrasive paper for use on
                                                  the nails, wallpaper cleaning
                                                  preparations, paint stripper, pumice
                                                  stones for personal use, adhesives for
                                                  cosmetic use, namely, adhesives for
                                                  use in connection with artificial hair,
                                                  shaving preparations, varnish-
                                                  removing preparations]. FIRST USE:
                                                  20010226. FIRST USE IN
                                                  COMMERCE: 20010226
                                                  IC 028. US 022 023 038 050. G & S:
                                                  Toys, namely plush stuffed toys and
                                                  plastic balls, latex balls and
         SMILEY          2,566,529   05/07/2002   squeezable balls [ ; sporting goods,
                                                  namely knee pad ]. FIRST USE:
                                                  19880516. FIRST USE IN
                                                  COMMERCE: 19880516s
                                                  IC 003. US 001 004 006 050 051
                                                  052. G & S: Bubble bath, Deodorants
                                                  for personal use, lotions, false nails.
                                                  FIRST USE: 20150401. FIRST USE
                                                  IN COMMERCE: 20180125
                                                  IC 004. US 001 006 015. G & S:
                                                  candles. FIRST USE: 19720717.
                                                  FIRST USE IN COMMERCE:
                                                  20180125

         SMILEY          5,453,732                IC 005. US 006 018 044 046 051
                                                  052. G & S: Food for babies,
                                                  adhesive bandages, air deodorant,
                                                  feminine hygiene pads, additive for
                                                  nutritional purposes, sanitary
                                                  napkins, car deodorants, vitamin
                                                  supplements; babies' disposable
                                                  diapers. FIRST USE: 19720717.
                                                  FIRST USE IN COMMERCE:
                                                  20180125




                                        3
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 4 of 20




                                                IC 006. US 002 012 013 014 023 025
                                                050. G & S: metal keys for locks.
                                                FIRST USE: 19720717. FIRST USE
                                                IN COMMERCE: 20180125

                                                IC 008. US 023 028 044. G & S:
                                                Spoons, hand tools, beard clippers,
                                                scissors, nail clippers, hair removing
                                                tweezers, ice picks, nail files,
                                                manicure sets, hammers, pedicure
                                                sets, pliers, electric and non-electric
                                                razors, screwdrivers and drills;
                                                electric and non-electric flat irons.
                                                FIRST USE: 19720717. FIRST USE
                                                IN COMMERCE: 20180125

                                                IC 009. US 021 023 026 036 038. G
                                                & S: Weighing apparatus, scales,
                                                calculating machines, sound
                                                amplifiers, anti-glare glasses,
                                                computer terminals, electric, neon or
                                                luminous signs, photographic
                                                cameras, magnetic encoded cards,
                                                cartridges for video games, life
                                                jackets, computer keyboards,
                                                electrical connectors, contact lenses,
                                                electrical sockets, eyeglass cases,
                                                blank magnetic data carriers, fire
                                                extinguishers, loudspeakers,
                                                telephone apparatus, sunglasses,
                                                computer memories, computer
                                                peripheral mouse pads, computer
                                                mouse, television sets, video
                                                cameras, and video game cartridges.
                                                FIRST USE: 20121201. FIRST USE
                                                IN COMMERCE: 20180125

                                                IC 014. US 002 027 028 050. G & S:
                                                Precious metals and their alloys sold
                                                in bulk, clocks, works of art of
                                                precious metal, jewelry, jewelry
                                                boxes, earrings, watches, bracelets,
                                                cuff links, brooches, necklaces.
                                                FIRST USE: 20150601. FIRST USE
                                                IN COMMERCE: 20180125



                                        4
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 5 of 20




                                                IC 016. US 002 005 022 023 029 037
                                                038 050. G & S: Adhesive tapes for
                                                stationery or household purposes,
                                                posters, photo albums, scrapbooks,
                                                lithographic prints, stickers, loose-
                                                leaf binders, boxes of cardboard or
                                                paper, rubber stamps, calendars,
                                                printing sewing patterns, note books,
                                                business cards, postcards, tags for
                                                index cards, iron-on transfers and
                                                plastic transfers, decalcomanias,
                                                graphic art reproductions, stationery
                                                folders, writing materials, namely,
                                                note books, post cards, ball-point
                                                pens, anniversary books, appointment
                                                books, autograph books, baby books,
                                                sketch books, sketch pads,
                                                bookmarks, daily planners, date
                                                books, address books, diaries,
                                                engagement books, envelopes,
                                                electric and non- electric erasers,
                                                fountain pens, pen or pencil holders,
                                                pen or pencil trays, pencils, artists'
                                                pencils, drawing pencils, pencil
                                                boxes, pencil cases, pen cases,
                                                stationery, and envelopes, rubber
                                                erasers, wrapping paper, pencils,
                                                stationery envelopes, blank or
                                                partially printed paper labels,
                                                announcement cards, writing paper,
                                                school supplies, namely, notebooks,
                                                pencil cases, toilet paper, pictures,
                                                printed matter, namely, magazines in
                                                the field of art, lithographs, table
                                                linen of paper, handkerchiefs of
                                                paper, stationery, paper stationery,
                                                paper banners, paper bags,
                                                unmounted photographs, art prints,
                                                pen and pencil trays, printed
                                                publications, namely, magazines,
                                                newspapers, graphic art
                                                reproductions, plastic or paper
                                                envelopes, bags and pouches for
                                                merchandise packaging, writing pads,
                                                fountain pens, and paper or plastic
                                                transparencies, paper towels,

                                        5
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 6 of 20




                                                embroidery design patterns, table
                                                mats of paper, pencil sharpeners.
                                                FIRST USE: 20130901. FIRST USE
                                                IN COMMERCE: 20180125

                                                IC 021. US 002 013 023 029 030 033
                                                040 050. G & S: Combs, toilet
                                                brushes, water troughs, thermal
                                                insulated containers for food, terra-
                                                cotta or glass, figurines, table plates
                                                not of precious metal, brooms,
                                                cocktail picks, drinking flasks for
                                                travelers, drinking vessels, beer
                                                mugs, soap boxes, dispensing paper
                                                towels for household use, non-
                                                electric kettles, bottles sold empty,
                                                bottle openers, pitchers not of
                                                precious metal, non-electric
                                                toothbrushes, perfume burners,
                                                coffee services, not of precious
                                                metal, egg cups not of precious
                                                metal, beverage glassware, jugs,
                                                cookery molds, cooking utensils,
                                                toothpicks, cutting boards for the
                                                kitchen, trivets, toilet paper holders,
                                                soap dispensers, sponges for
                                                household purposes, scouring
                                                sponges for toilets, earthenware
                                                basins in the nature of bowls,
                                                household utensils, flower pots;
                                                gloves for household purposes,
                                                gloves for gardening, ice buckets,
                                                non-electric portable coolers for food
                                                and beverages, goblets, not of
                                                precious metal, mugs, not of precious
                                                metal, bottle- gourds, not of precious
                                                metal, crumb trays, dishes, soap
                                                holders, sponge holders, ironing
                                                boards, pepper shakers, garbage cans,
                                                trash cans, napkin rings, thermal
                                                insulated bags for food or beverages,
                                                statutes, statuettes, table plates,
                                                napkin holders, non-metal piggy
                                                banks, earthenware mugs, drinking
                                                glasses, tableware services not of
                                                precious metal. FIRST USE:

                                        6
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 7 of 20




                                                20130901. FIRST USE IN
                                                COMMERCE: 20180125

                                                IC 025. US 022 039. G & S:
                                                Clothing, namely, suits, dresses, t-
                                                shirts, sweatshirts, raincoats, shorts,
                                                stockings, cloth bibs, berets, hosiery,
                                                boots, suspenders, pants, baseball
                                                caps, golf caps, athletic shoes,
                                                masquerade costumes, hats, babies
                                                pants, neckties, sashes for wear,
                                                scarves, gloves, layettes, slippers, ear
                                                muffs, aprons, sportswear, namely,
                                                jogging suits, and training suits.
                                                FIRST USE: 20121201. FIRST USE
                                                IN COMMERCE: 20180125

                                                IC 026. US 037 039 040 042 050. G
                                                & S: Hair accessories, electric hair
                                                curlers. FIRST USE: 19720717.
                                                FIRST USE IN COMMERCE:
                                                20180125

                                                IC 027. US 019 020 037 042 050. G
                                                & S: carpets. FIRST USE: 20141201.
                                                FIRST USE IN COMMERCE:
                                                20180125

                                                IC 028. US 022 023 038 050. G & S:
                                                Games, playthings, namely, toys in
                                                the nature of flying disks, sporting
                                                articles, golf balls, handballs,
                                                playground balls, soccer balls,
                                                baseballs, basketballs, bowling balls,
                                                footballs, tennis balls, rubber balls,
                                                sports balls, table tennis balls, volley
                                                balls, beach balls balloons, toys,
                                                namely, jigsaw puzzles; Christmas
                                                tree ornaments, party favors in the
                                                nature of small toys; namely,
                                                confetti. FIRST USE: 20121201.
                                                FIRST USE IN COMMERCE:
                                                20180125




                                        7
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 8 of 20




                                                  IC 029. US 046. G & S: Meat. FIRST
                                                  USE: 19720717. FIRST USE IN
                                                  COMMERCE: 20180125

                                                  IC 030. US 046. G & S: Sugar, pasta,
                                                  corn flakes, chewing gum. FIRST
                                                  USE: 20170301. FIRST USE IN
                                                  COMMERCE: 20180125

                                                  IC 032. US 045 046 048. G & S:
                                                  Mineral and aerated waters, fruit
                                                  juices. FIRST USE: 19720717.
                                                  FIRST USE IN COMMERCE:
                                                  20180125

                                                  IC 034. US 002 008 009 017. G & S:
                                                  Cigarette cases, cigarette lighters,
                                                  ashtrays not of precious metal,
                                                  cigarette holders, not of precious
                                                  metal, ashtrays of precious metal for
                                                  smokers. FIRST USE: 20141201.
                                                  FIRST USE IN COMMERCE:
                                                  20180125

                                                  IC 035. US 100 101 102. G & S:
                                                  Advertising and marketing. FIRST
                                                  USE: 20150601. FIRST USE IN
                                                  COMMERCE: 20180125

                                                  IC 036. US 100 101 102. G & S:
                                                  Credit card services, monetary
                                                  exchange. FIRST USE: 19720717.
                                                  FIRST USE IN COMMERCE:
                                                  20180125

                                                  IC 038. US 100 101 104. G & S:
                                                  Telecommunication services, namely,
                                                  personal communication. FIRST
                                                  USE: 20170701. FIRST USE IN
                                                  COMMERCE: 20180125
                                                  IC 003. US 001 004 006 050 051
                                                  052. G & S: Soaps, bath gels,
                                                  makeup, perfumes, body lotions, nail
         SMILEY          2,970,055   07/19/2005
                                                  care preparations, cosmetic
                                                  preparations for skin renewal, hair
                                                  shampoos, hair gel. FIRST USE:

                                        8
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 9 of 20




                                                  20010226. FIRST USE IN
                                                  COMMERCE: 20010226

                                                  IC 009. US 021 023 026 036 038. G
                                                  & S: Downloadable computer
                                                  software program for use in
                                                  attaching, icons or other symbols, in
         SMILEY          3,016,430   11/15/2005
                                                  e-mail correspondence and instant
                                                  messaging. FIRST USE: 20001200.
                                                  FIRST USE IN COMMERCE:
                                                  20001200
                                                  IC 025. US 022 039. G & S:
                                                  Clothing, namely, pullovers,
         SMILEY          2,801,529   12/30/2003   [trousers] and shirts. FIRST USE:
                                                  19700000. FIRST USE IN
                                                  COMMERCE: 19700000
                                                  IC 016. US 002 005 022 023 029 037
                                                  038 050. G & S: Printed matter,
                                                  namely, children's books, stationery,
                                                  greeting cards, note cards, post cards,
                                                  posters, newspapers, printed
                                                  calendars, printed forms, printed
                                                  invitations, photo albums,
                                                  scrapbooks, photographs;
                                                  bookbinding materials, namely,
                                                  bookbinding papers or cloth,
                                                  bookbinding adhesive tape or glue;
                                                  adhesive tapes for stationery or
                                                  household purposes; artists' materials,
                                                  namely, artists' paintbrushes, typeset
                                                  printing blocks, printing type, art
                         5,348,135   12/05/2017
                                                  pads, art paper, paper, cardboard,
                                                  dressmaking patterns, drawings,
                                                  watercolors, paintings both framed
                                                  and unframed; lithographic or
                                                  engraved art objects; writing
                                                  implements, namely, pens, pencils,
                                                  fountain pens, artists' pencils;
                                                  drawing instruments, namely,
                                                  charcoal pencils, drawing pencils,
                                                  pencil cases; typewriters and office
                                                  requisites except furniture, namely,
                                                  magnetic boards, file folders, desktop
                                                  stationery cabinets; Printed
                                                  instructional, educational, and
                                                  teaching materials in the field of

                                        9
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 10 of 20




                                                           primary education; cardboard or
                                                           paper boxes; paper products, namely,
                                                           paper handkerchiefs, paper towels,
                                                           paper table linen, toilet paper, babies'
                                                           disposable napkins of paper and
                                                           cellulose; bags, namely, paper or
                                                           plastic for use as gift bags, paper
                                                           bags or pouches, paper and plastic
                                                           bags for merchandise packaging
                                                           purposes, paper and plastic garbage
                                                           bags; pamphlets in the field of
                                                           fashion, home, decorating and
                                                           licensing; prospectuses in the field of
                                                           fashion, home, decorating and
                                                           licensing

                                                           IC 018. US 001 002 003 022 041. G
                                                           & S: Leather and imitation leather,
                                                           animal skins and hides; trunks and
                                                           suitcases; umbrellas, parasols and
                                                           walking sticks; whips, harness and
                                                           saddlery; wallets, purses not of
                                                           precious metal; handbags, backpacks,
                                                           wheeled bags; sports bags for
                                                           climbers; sports bags for campers;
                                                           traveling bags, beach bags, school
                                                           bags, unfitted vanity cases; collars
                                                           and clothing for animals, namely, pet
                                                           clothing and collars; mesh shopping
                                                           bags, mesh shopping nets for use in
                                                           an automobile; leather bags or
                                                           pouches
                                                           IC 027. US 019 020 037 042 050. G
                                                           & S: Bath mats; Rugs; Floor mats for
           SMILEY              6,428,755     05/14/2019    vehicles. FIRST USE: 20110228.
                                                           FIRST USE IN COMMERCE:
                                                           20190331


   See Declaration of Nicolas Loufrani in Support of Plaintiff’s Motion for TRO (“Loufrani Decl.”)

   at ¶ 9 and Schedule B; see also Complaint (ECF No. 1), at ¶ 25. The Smiley Marks are used in

   connection with the design, marketing, and distribution of high-quality goods in the category

   identified above. See id.

                                                 10
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 11 of 20




          Plaintiff is also the owner of the following copyrights registered in the United States of

   America:

     Registration      Registration                            Title of Work
      Number              Date
    VAu000446942          1999            Andazia International--Millennium 2000 T-shirts : no.
                                                            280-283, 287-289.
    VAu000446948            1999               Berkshire--Smiley babies outerwear, socks, Smiley
                                         rainwear, umbrellas, Smilette : no. BERK001-BER019.
    VAu000446941            1999        Commonwealth toy--Smiley Babies packaging labels : no.
                                                             CTN01-CTN05.
    VAu000304029            1998                 Freeze/Millennium 2000 T-shirts : no. FR001-
                                                                 FR118.
    VAu000446947            1999         Freeze--Millennium 2000 T-shirts : no. FR119-FR168.
    VAu000446946            1999        Home Group, Inc.--Smiley headwear : no. HG001-HG004.
    VAu000456386            1999         Jacques Moret Intimates/SHB intimates ... : no. JM045-
                                                                 JM068.
    VAu000446943            1999         Maru artwork--Smiley characters, millennium 2000 : no.
                                                          MARU01-MARU06.
    VAu000446940            1999           Millennium 2000 socks : no. 6209-6248, 6250-6256.
    VAu000456387            1999               NTD Apparel, Inc. : no. NTD181-NTD280.
    VAu000446944            1999          Pro Specialties Group--Millennium 2000 : no. PS005-
                                                                 PS006.
    VAu000446945            1999          Ralph Marlin--Millennium 2000 boxers : no. RM001-
                                                                 RM005.
    VAu000440872            1998                    "Smiley for kids" December 98.
    PAu002457240            1999                             Smiley forever.
    PAu002457241            1999                 Smiley trend book--fall/winter 2000-01.

          See Loufrani Decl. at ¶ 10; Complaint, at ¶ 32. The copyrighted works identified in

   Schedules C to the Golovlova Declaration hereto are collectively referred to herein as the

   “Copyrighted Works.”

          The Defendants, through the various Internet based e-commerce stores operating under the

   seller identities identified on Schedule “A” to the Complaint (the “Seller IDs”), have advertised,

   promoted, offered for sale, or sold goods bearing and/or using what the Plaintiff has determined to




                                                   11
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 12 of 20




   be counterfeits, infringements, reproductions, or colorable imitations of the Smiley Marks and

   Copyrighted Works. See Loufrani Decl. at ¶¶ 15-18; Declaration of A. Robert Weaver in Support

   of Plaintiff’s Motion for TRO (“Weaver Decl.”) at ¶ 5.

          Although each of the Defendants may not copy and infringe each of the Smiley Marks for

   each category of goods protected and/or Copyrighted Works, the Plaintiff has submitted sufficient

   evidence showing each of the Defendants has infringed at least one or more of the Smiley Marks

   and/or Copyrighted Works. See Weaver Decl. at ¶ 4, Schedule D. The Defendants are not now,

   nor have they ever been, authorized or licensed to use, reproduce, or make counterfeits,

   reproductions, or colorable imitations of the Smiley Marks or Copyrighted Works. See Loufrani

   Decl. at ¶ 15.

          The Plaintiff investigated the promotion and sale of counterfeit and infringing versions of

   the Plaintiff’s branded and copyright protected products by the Defendants. See Loufrani Decl. at

   ¶¶ 15-18. Plaintiff accessed each of the e-commerce stores operating under the Defendants’ Seller

   IDs, initiated the ordering process for the purchase of a product from each of the Seller IDs, bearing

   counterfeits of, at least, one of the Smiley Marks and Copyrighted Works at issue in this action,

   and requested each product to be shipped to an address in the Southern District of Florida. See id.;

   see also Loufrani Decl. at ¶ 17. The Plaintiff conducted a review and visually inspected the Smiley

   branded items for which orders were initiated by Plaintiff’s third party investigator via the Seller

   IDs and determined the products were nongenuine, unauthorized versions of the Plaintiff’s

   products. See id.

   II.    LEGAL STANDARD

          To obtain a temporary restraining order, a party must demonstrate “(1) a substantial

   likelihood of success on the merits; (2) that irreparable injury will be suffered if the relief is not



                                                    12
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 13 of 20




   granted; (3) that the threatened injury outweighs the harm the relief would inflict on the

   nonmovant; and (4) that the entry of the relief would serve the public interest.” Schiavo ex. Rel

   Schindler v. Schiavo, 403 F.3d 1223, 1225–26 (11th Cir. 2005); see also Levi Strauss & Co. v.

   Sunrise Int’l. Trading Inc., 51 F.3d 982, 985 (11th Cir. 1995) (applying the test to a preliminary

   injunction in a Lanham Act case). Additionally, a court may only issue a temporary restraining

   order without notice to the adverse party or its attorney if:

          (A) specific facts in an affidavit or a verified complaint clearly show that immediate
          and irreparable injury, loss, or damage will result to the movant before the adverse
          party can be heard in opposition [and] (B) the movant’s attorney certifies in writing
          any efforts made to give notice and the reasons why it should not be required.

   Fed. R. Civ. P. 65(b)(1). Ex parte temporary restraining orders “should be restricted to serving

   their underlying purpose of preserving the status quo and preventing irreparable harm just so long

   as is necessary to hold a hearing, and no longer.” Granny Goose Foods, Inc. v. Brotherhood of

   Teamsters & Auto Truck Drivers Local No. 70 of Alameda Cty., 415 U.S. 423, 439 (1974).

   III.   CONCLUSIONS OF LAW

          The declarations the Plaintiff submitted in support of its Ex Parte Application for

   Temporary Restraining Order support the following conclusions of law:

          A.      The Plaintiff has a strong probability of proving at trial that (1) consumers are likely

   to be confused by the Defendants’ advertisement, promotion, sale, offer for sale, or distribution of

   goods bearing and/or using counterfeits, reproductions, or colorable imitations of the Smiley

   Marks, and that (2) the products Defendants are selling and promoting for sale are copies of the

   Plaintiff’s products which bear copies of the Smiley Marks.

          B.      Because of the infringement of the Smiley Marks, the Plaintiff is likely to suffer

   immediate and irreparable injury if a temporary restraining order is not granted. The following

   specific facts, as set forth in the Plaintiff’s Complaint, Application for Temporary

                                                     13
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 14 of 20




   Restraining Order, and accompanying declarations, demonstrate that immediate and irreparable

   loss, damage, and injury will result to the Plaintiff and to consumers before the Defendants can be

   heard in opposition unless the Plaintiff’s request for ex parte relief is granted:

                  1.      The Defendants own or control Internet based e-commerce stores and

   websites which advertise, promote, offer for sale, and sell products bearing counterfeit and

   infringing trademarks in violation of the Plaintiff’s rights;

                  2.      There is good cause to believe that more counterfeit and infringing products

   bearing the Plaintiff’s trademarks will appear in the marketplace; that consumers are likely to be

   misled, confused, and disappointed by the quality of these products; and that the Plaintiff may

   suffer loss of sales for its genuine products and an unnatural erosion of the legitimate marketplace

   in which it operates; and

                  3.      There is good cause to believe that if the Plaintiff proceeds on notice to the

   Defendants of this Application for Temporary Restraining Order, the Defendants can easily and

   quickly change the ownership or modify domain registration and e-commerce store account data

   and content, change payment accounts, redirect consumer traffic to other seller identification

   names, and transfer assets and ownership of Seller IDs thereby thwarting the Plaintiff’s ability to

   obtain meaningful relief.

          C.      The balance of potential harm to the Defendants in restraining their trade in

   counterfeit and infringing branded goods if a temporary restraining order is issued is far

   outweighed by the potential harm to the Plaintiff, its reputation, and its goodwill as manufacturers

   and distributors of quality products if such relief is not issued.

          D.      The public interest favors issuance of the temporary restraining order to protect the

   Plaintiff’s trademark interests, to encourage respect for the law, to facilitate the invention and



                                                     14
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 15 of 20




   development of innovative products, and to protect the public from being defrauded by the illegal

   sale of counterfeit goods.

           E.      Under 15 U.S.C. § 1117(a), the Plaintiff may be entitled to recover, as an equitable

   remedy, the illegal profits gained through the Defendants’ distribution and sales of goods bearing

   counterfeits and infringements of the Smiley Marks. See Reebok Int’l, Ltd. v. Marnatech Enters.,

   Inc., 970 F.2d 552, 559 (9th Cir. 1992) (quoting Fuller Brush Prods. Co. v. Fuller Brush Co., 299

   F.2d 772, 777 (7th Cir. 1962) (“An accounting of profits under § 1117(a) is not synonymous with

   an award of monetary damages: ‘[a]n accounting for profits . . . is an equitable remedy subject to

   the principles of equity.’”)).

           F.      Requesting equitable relief “invokes the district court’s inherent equitable powers

   to order preliminary relief, including an asset freeze, in order to assure the availability of

   permanent relief.” Levi Strauss & Co., 51 F.3d at 987 (citing Federal Trade Commission v. United

   States Oil & Gas Corp., 748 F.2d 1431, 1433-34 (11th Cir. 1984)).

           G.      In light of the inherently deceptive nature of the counterfeiting business, and the

   likelihood that the Defendants have violated federal trademark laws, the Plaintiff has good reason

   to believe the Defendants will hide or transfer their ill-gotten assets beyond the jurisdiction of this

   Court unless those assets are restrained.

           Upon review of the Plaintiff’s Complaint, Application for Temporary Restraining Order,

   and supporting evidentiary submissions, the Court hereby

           ORDERS AND ADJUDGES that the Plaintiff’s Ex Parte Application for Temporary

   Restraining Order (ECF No. __) is GRANTED, under the terms set forth below:




                                                     15
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 16 of 20




           (1)     Each of the Defendants, its officers, directors, employees, agents, subsidiaries,

   distributors, and all persons in active concert or participation with any of the Defendants having

   notice of this Order are temporarily restrained as follows:

                   a.      From manufacturing, importing, advertising, promoting, offering to sell,

   selling, distributing, or transferring any products bearing the Smiley Marks, or any confusingly

   similar trademarks, other than those actually manufactured or distributed by the Plaintiff;

                   b.      From secreting, concealing, destroying, selling off, transferring, or

   otherwise disposing of: (i) any products, not manufactured or distributed by the Plaintiff, bearing

   and/or using the Smiley Marks, or any confusingly similar trademarks; (ii) any evidence relating

   to the manufacture, importation, sale, offer for sale, distribution, or transfer of any products bearing

   and/or using the Smiley Marks, or any confusingly similar trademarks; or (iii) any assets or other

   financial accounts subject to this Order, including inventory assets, in the actual or constructive

   possession of, or owned, controlled, or held by, or subject to access by, any of the Defendants,

   including, but not limited to, any assets held by or on behalf of

   any of the Defendants; and

                   c.      From using any reproduction, counterfeit, copy, or colorable imitation of

   the Copyrighted Works in connection with the publicity, promotion, sale, or advertising of any

   goods sold by Defendants.

           (2)     Each of the Defendants, its officers, directors, employees, agents, subsidiaries,

   distributors, and all persons in active concert or participation with any of the Defendants having

   notice of this Order shall immediately discontinue the use of the Smiley Marks, confusingly similar

   trademarks, or unauthorized copies of the Copyrighted Works on or in connection with all Internet




                                                     16
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 17 of 20




   based e-commerce stores owned and operated, or controlled by them, including the Internet based

   e-commerce stores operating under the Seller IDs.

            (3)   Each of the Defendants shall not transfer ownership of the Seller IDs during the

   pendency of this action, or until further Order of the Court.

            (4)   Upon receipt of notice of this Order, the Defendants and any third party financial

   institutions, payment processors, banks, escrow services, money transmitters, or marketplace

   platforms who is providing services for any of the Defendants, including but not limited to,

   AliExpress, Alipay, Dhgate, Dhpay, Joom, Wish, Wishpay, Amazon, Amazon Pay, Ebay, Etsy,

   Red Bubble, and/or Taobao, and their related companies and affiliates (collectively, the “Third

   Party Providers”), shall within five (5) business days after receipt of notice of this Order,

                  a.      Restrain the transfer of all funds, including funds relating to ongoing

   account activity, held or received for the Defendants’ benefit or to be transferred into the

   Defendants’ respective financial accounts, restrain any other financial accounts tied thereto, and

   immediately divert those restrained funds to a holding account for the trust of the Court. Such

   restraining of the funds and the disclosure of the related financial institution account information

   (as provided below) shall be made without notice to the account owners or the financial institutions

   until after those accounts are restrained. No funds restrained by this Order shall be transferred or

   surrendered by any Third Party Provider for any purpose (other than pursuant to a chargeback

   made pursuant to their security interest in the funds) without the express authorization of this

   Court.

                  b.      Provide Plaintiff expedited discovery of the following: (i) the identity of all

   financial accounts and/or sub-accounts associated with the Internet based e-commerce stores

   operating under the Seller IDs identified on Schedule “A” hereto, as well as any other accounts of



                                                    17
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 18 of 20




   the same customer(s); (ii) the identity and location of the Defendants identified in Schedule “A,”

   including all known contact information including any and all known aliases and associated e-mail

   addresses; (iii) an accounting of the total funds restrained and identities of the financial account(s)

   and sub-account(s) for which the restrained funds are related; (iv) an identification of all products

   sold by Defendants using the Smiley Marks and/or Copyrighted Works; and (v) an identification

   of all sales of such products and the revenues derived therefrom.

           (5)    Any Defendant or Third Party Provider subject to this Order may petition the Court

   to modify the asset restraint set out in this Order.

           (6)    The Clerk of the Court is directed to issue a single original summons in the name

   of “The Individuals, Partnerships and Unincorporated Associations Identified in Schedule ‘A’ of

   the Complaint” that shall apply to all Defendants.

           (7)    The combination of providing notice via electronic publication and e-mail, along

   with any notice that Defendants receive from payment processors, shall constitute notice

   reasonably calculated under all circumstances to apprise Defendants of the pendency of the action

   and afford them the opportunity to present their objections.

           (8)    This Order shall apply to the Seller IDs, associated ecommerce stores and websites,

   and any other seller identification names, e-commerce stores, domain names, websites, or financial

   accounts which are being used by Defendants for the purpose of counterfeiting and infringing the

   Smiley Marks and Copyrighted Works at issue in this action and/or unfairly competing with

   Plaintiff.

           (9)    This Order shall remain in effect for two weeks from the date of entry of this Order

   and expires on _____________, 2023 at _____ AM/PM.




                                                     18
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 19 of 20




              (10)   Pursuant to 15 U.S.C. § 1116(d)(5)(D) and Federal Rule of Civil Procedure 65(c),

   the Plaintiff shall post a bond in the amount of Ten Thousand Dollars and Zero Cents ($10,000.00),

   as payment of damages to which the Defendants may be entitled for a wrongful injunction or

   restraint, during the pendency of this action, or until further Order of the Court. In the Court’s

   discretion, the bond may be subject to increase should an application be made in the interest of

   justice.

              (11)   After the Plaintiff’s counsel has received confirmation from the financial

   institutions regarding the funds restrained as directed herein, the Plaintiff shall serve copies of the

   Complaint, Application for Temporary Restraining Order, and this Order, on each Defendant by

   e-mail via their corresponding e-mail address and/or online contact form or other means of

   electronic contact provided on the Internet based e-commerce stores operating under the respective

   Seller IDs or by providing a copy of this Order by email to the marketplace platforms for each of

   the Seller IDs so that the registrar, or marketplace platform, in turn, notifies each of the Defendants

   of the Order, or by other means reasonably calculated to give notice which is permitted by the

   Court. In addition, the Plaintiff shall post copies of the Complaint, Application for Temporary

   Restraining Order, and this Order, as well as all other documents filed in this action on the website,

   and shall provide the address to the website to the Defendants via e-mail/online contact form, and

   such notice so given shall be deemed good and sufficient service thereof. The Plaintiff shall

   continue to provide notice of these proceedings and copies of the documents on file in this matter

   to     the        Defendants    by     regularly        updating   the     website      located      at

   https://www.dropbox.com/scl/fo/kyoawq4v7n4w3qapw5s4k/h?rlkey=jn9hxyn95wltwy6y04p7fm

   uxn&dl=0, or by other means reasonably calculated to give notice which is permitted by the Court.




                                                      19
Case 0:23-cv-61233-JEM Document 5-7 Entered on FLSD Docket 07/05/2023 Page 20 of 20




          (12)    A hearing is set before this Court on _____________, at _________, at which time

   the Defendants and/or any other affected persons may challenge the appropriateness of this Order

   and move to dissolve the same and at which time the Court will hear argument on the Plaintiff’s

   requested preliminary injunction. The Defendants are hereby on notice that failure to appear at the

   hearing may result in the imposition of a preliminary injunction against them pursuant to 15 U.S.C.

   § 1116(d); Fed. R. Civ. P. 65, The All Writs Act, 28 U.S.C. § 1651(a); and this Court’s inherent

   authority.

          (13)    The Clerk shall file this Order under seal until further order of the Court.

          DONE AND ORDERED in Miami, Florida this ____ day of ____________, 2023 at

   __:__ AM/PM.




                                                 HONORABLE JOSE E. MARTINEZ
                                                 UNITED STATES DISTRICT JUDGE

   cc: counsel of record
   Sealed clerk




                                                   20
